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 7
                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
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10
        UNITED STATES OF AMERICA,                          CASE NO. CR97-5334RJB
11
                              Plaintiff,                   ORDER DENYING MOTION FOR
12                                                         TERMINATION OF SUPERVISED
               v.                                          RELEASE
13
        LEE RUSHING,
14
                              Defendant.
15

16          This matter comes before the court on the defendant’s letter requesting termination from

17 supervised release (Dkt. 218). The court has considered the letter, which the court deems to be a

18 motion, the attachments thereto, and the response of both the Probation Office and the plaintiff.

19          The court agrees with the position of probation that the court should not consider

20 termination of supervised release until at least one year following the commencement of

21 supervised release, in the absence of extraordinary circumstance. To terminate supervised

22 release earlier would be to downgrade the importance of supervised release in the sentencing

23 process.

24

     ORDER DENYING MOTION FOR
     TERMINATION OF SUPERVISED RELEASE- 1
           Case 3:97-cr-05334-RJB         Document 222        Filed 12/10/13      Page 2 of 2




 1         Mr. Rushing has apparently done well on supervised release and is doing everything

 2 requested of him, and should consider making further motion for early termination after the

 3 expiration of one year of supervision. Therefore, it is now

 4         ORDERED that the letter/motion for termination of supervised release (Dkt. 218) is

 5 DENIED.

 6         The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 7 to any party appearing pro se at said party’s last known address.

 8         Dated this 10th day of December, 2013.



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                                         ROBERT J. BRYAN
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                                         United States District Judge
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     ORDER DENYING MOTION FOR
     TERMINATION OF SUPERVISED RELEASE- 2
